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                                              Kathryn Francis Anderson
                                                    General Motors North America
                                              30200 Mound Road, Mail Code 480-111-E20
                                                      Warren, Michigan 48090

EXPERIENCE
 Senior Staff Engineer                           General Motors Global Vehicle Safety, Warren, MI                   June 2001 - Present
 – General Motors Technical Fellow
  ENGINEERING ANALYSIS / FIELD PERFORMANCE ASSESSMENT
    Assess the field performance of current and past product restraint systems, and provide technical expertise in the area of occupant
    protection, restraint systems, and biomechanics.
        Provide technical engineering analysis in support of litigation
        Provide engineering consultation and mentoring to Vehicle Engineering Center restraint system development engineers
        Provide expert peer review of product programs through the Performance Assessment Committee
        Advise Vehicle Engineering Center restraint system development engineers in understanding and interpreting the tools available for
        assessing submarining potential in tests run with belted dummies.
        Perform research testing and data analysis for the Occupant Safety Research Partnerships (OSRP) USCAR program for evaluation
        of the Hybrid III 10-year-old crash test dummy and the RID 2 rear impact test dummy.
        Functioned as the 2002 Occupant Safety Research Partnerships (OSRP) Management Committee Secretary.
        Participate in the International Center for Automotive Medicine (ICAM) project and Crash Injury Research Engineering Network
        (CIREN) project at the University of Michigan Trauma Burn Center in Ann Arbor, MI. These projects conduct extensive accident
        investigations and reviews of vehicle crashes and the resulting occupant injuries.
        Engineering Research Fellow at the University of Michigan Program for Injury Research and Education (UMPIRE). This fellowship
        involves analyzing motor vehicle crashes, the related injuries, the treatment of those injuries and the patient outcomes with a multi-
        disciplinary team of medical doctors, engineers, researchers and support staff in the University of Michigan Trauma Burn Center.

 Senior Project Engineer          General Motors Safety Integration Center, Warren, MI                         July 2000 – August 2001
  OCCUPANT PROTECTION AND BIOMECHANICAL RESEARCH
    Conducted research relevant to the advancement of occupant protection improvements in a variety of crash conditions, and provided
    subject matter expertise in the area of occupant performance and occupant restraints.
        Provided engineering consultation and mentoring to Vehicle Engineering Center restraint system development engineers
        Provided expert peer review of product programs through the Performance Assessment Committee
        Evaluated high speed rear impacts to support future design direction for several GM programs and to support potential FMVSS 301
        future rulemaking
        Performed research testing and data analysis for the Occupant Safety Research Partnerships USCAR program for evaluation of
        the BioRID II rear impact test dummy.
        Participated in the Crash Injury Research Engineering Network (CIREN) project at the University of Michigan Trauma Burn Center
        in Ann Arbor, MI. This project conducts extensive accident investigations and reviews of vehicle crashes and the resulting
        occupant injuries.


 Senior Project Engineer          General Motors NAO Car Group Interiors, Warren, MI                                June 1991-July 2000
  RESTRAINT SYSTEMS DESIGN / RELEASE ENGINEERING
    Design responsible for the steering wheels, driver air bag (DSIR module), and passenger air bag (PSIR module) for the 1997 Pontiac
    Grand Prix, 2000-2001 Chevrolet Impala, and 2000-2001 Chevrolet Monte Carlo programs
        Managed product development team deliverables to achieve program timing, cost, commonality, and change management
        objectives
        Coordinated the design of the steering wheels and air bag modules to meet packaging constraints and satisfy the requirements of
        the component supplier, vehicle assembly plant, and service technology group
        Validated the product performance with respect to the functional criteria specifications by conducting component tests, math data
        design studies, and engineering part try-outs
        Led the 2001 Chevrolet Impala and Monte Carlo dual stage air bag system project (new technology for the corporation) by
        developing test plans, balancing sensing and restraint system performance, coordinating electrical requirements, reviewing
        specifications and component requirements, and acquiring approval for project funds
        Participated in the Crash Injury Research Engineering Network (CIREN) project at the University of Michigan Trauma Burn Center
        in Ann Arbor, MI. This project conducts extensive accident investigations and reviews of vehicle crashes and the resulting
        occupant injuries.

  RESTRAINT SYSTEMS PERFORMANCE ENGINEERING
    Developed occupant protection systems for the 1993-1994 Buick Century / Oldsmobile Cutlass Ciera, the 1994 mini-van, 1995 Buick
    Century / Oldsmobile Cutlass Ciera Major (program canceled in June 1993), 1995 Chevrolet Lumina / Pontiac Grand Prix / Oldsmobile
    Cutlass Supreme / Buick Regal (belts), 1997 Pontiac Grand Prix, 2000-2001 Chevrolet Impala, and 2000-2001 Chevrolet Monte Carlo
    programs
        Provided design direction for interior system changes based on assessments of restraint system hardware performance with
        respect to observed occupant kinematics
        Coordinated barrier, sled, and component level tests run for evaluation of restraint system integrity and performance
        Extensive experience with film analysis and Crashworthiness software to interpret component, sled, and barrier test data
        Directed the fabrication of sled test fixtures and experimental restraint system components
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 Project Engineer              General Motors Research Technology Partnerships, Warren, MI                      May 1996 - August 1996
  GENERAL MOTORS MOTORSPORTS SAFETY TECHNOLOGY RESEARCH PROGRAM
    Classified severity and kinematics of CART and Indy Racing League Indy car accident events using video analysis and on-board
    acceleration measurement data
    Characterized the head restraint performance criteria for Indy cars through static material testing and dynamic mini-sled testing
    Researched the effects of protective head restraint padding in the Indy car cockpit, and the results, Development of a Performance
    Specification for Indy Car Rear Impact Head Padding, were presented by Dr. John W. Melvin at the 1998 SAE Motorsports Engineering
    Conference and Exposition.

 Research Assistant                University of Cincinnati Medical Center, Cincinnati, Ohio                    May 1990 - August 1990
                                          Department of Physiology and Biophysics                               May 1989 - August 1989
  SPINAL CORD INJURY RESEARCH (in collaboration with the Veterans Administration Hospital)
    Used electrophysiological engineering techniques to record intracellular spinal cord activity to study mechanisms of cell death
    Researched the effects of cocaine on the brain’s memory using patch clamp recording techniques on brain tissue slices

 Manufacturing Engineer            Ford Electronics and Refrigeration, Connersville, Indiana                   June 1988 - August 1988
  FUEL RAIL MANUFACTURING DIVISION
    Implemented statistical process control (SPC) procedures and created computerized SPC data collection procedures for monitoring the
    progress and efficiency of fuel rail manufacturing
    Developed employee instruction methods and visual aids for the fuel rail assembly process

EDUCATION
  University of Michigan            Ann Arbor, Michigan                1995-1997
    Masters of Science degree in biomedical engineering
    Graduate degree focus was in biomechanics
    General Motors Corporation Fellowship awarded for pursuit of graduate studies
  Purdue University                 West Lafayette, Indiana            1986-1990
    Bachelor of Science Degree in engineering
    Undergraduate degree focus was in biomedical engineering through the Interdisciplinary Engineering School
  Northwestern University            Traffic Accident Reconstruction I              2002

HONORS
    2001 GM Chairman’s Honors Award Nominee for the Go Fast Dual Stage Air Bag Implementation Team
    1995-97 General Motors Corporation Fellowship
    1998 Louis Schwitzer Award for Engineering Innovation and Excellence awarded by the Indianapolis Motor Speedway
    1998 GM Chairman’s Honors Award Nominee for the 2000 NAO Common Steering Wheel Team
    1998 GM Chairman’s Honors Award Nominee for the Warrren / Flint Common Long PSIR Module PDIT
    Cincinnati Milacron Foundation Scholarship (two years)
    Tau Beta Pi Engineering Honorary
    Purdue University Distinguished Student
    Golden Gavel Women’s Leadership Honorary
    Skull and Crescent Sophomore Leadership Honorary
ACTIVITIES
    Society of Automotive Engineers
    Purdue University Personal Connection Alumni Resource Program
    Junior Achievement Advisor
    Interdisciplinary Engineering Student Counselor
    Kappa Alpha Theta Sorority
    Society of Women Engineers
    Indianapolis 500 Festival Hostess
    Tri Kappa Service Organization
PUBLICATIONS
    A Comparison of the Hybrid III and BioRID II Dummies in Low-Severity, Rear-Impact Sled Tests, presented by Agnes Kim, Ford Motor
    Company, at the 2001 STAPP Car Crash Conference.
    Development and Field Performance of Indy Racing Car Head Impact Padding, presented by Dr. John W. Melvin at the 2001 STAPP
    Car Crash Conference.
    A Biofidelity Evaluation of the BioRID II, Hybrid III, and RID 2 for Use in Rear Impacts, presented by Agnes Kim, Ford Motor Company,
    at the 2003 STAPP Car Crash Conference.
    A Comparison of the BioRID II, Hybrid III and RID2 in Low-Severity Rear-Impacts, presented by Agnes Kim, Ford Motor Company, at
    the 2005 ESV Conference.
    Assessment of 3 and 6-Year-Old Neck Injury Criteria Based on Field Investigation, Modeling, and Sled Testing, presented by Dr. Mark
    Sochor, University of Michigan Program for Injury Research and Education, at the 2006 SAE Congress.
    Crash Data Collection Guide for GM Airbag Electronic Control Units, published in Collision Magazine, Volume 5, Issue 2, Fall 2010,
    authored by Donald Floyd, Kathryn Anderson, Brian Everest, Angelo Peroff, Hamed Sadrnia, John Sprague and Lisa Stacey.
